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 1                                                               November 10, 2021

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 7                                 UNITED STATES DISTRICT COURT
 8                                CENTRAL DISTRICT OF CALIFORNIA
 9

10
      DANIEL MEDINA, an individual,                   Case No.: 2:20-cv-08992-SB-PVC
11
                     Plaintiff,                       Hon. Stanley Blumenfeld, Jr.
12
          v.
13
                                                      ORDER FOR DISMISSAL WITH
      FCA US LLC, A Delaware Limited                  PREJUDICE
14    Liability Company; and DOES 1 through
      20, inclusive,
15
                     Defendants.
16

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18

19             Pursuant to Fed. R. Civ. P. 41, the Court, having considered the documents before
20    it, and being fully advised finds as follows:
21             IT IS ORDERED that this matter is dismissed in its entirety with prejudice in
22    accordance with the terms of the parties’ written settlement agreement.
23

24

25    Dated: November 10, 2021
                                                            Hon. Stanley Blumenfeld, Jr.
26                                                          United States District Judge
27

28
                                                    1
                                   ORDER FOR DISMISSAL WITH PREJUDICE
